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   Humor Rainbow, Inc.; PlentyofFish Media ULC;
13 and People Media, Inc.

14                             UNITED STATES DISTRICT COURT

15                         NORTHERN DISTRICT OF CALIFORNIA

16 MATCH GROUP, LLC, a Delaware           Case No. 5:22-cv-02746
   corporation; HUMOR RAINBOW, INC., a
17 New York corporation; PLENTYOFFISH     [PROPOSED] TEMPORARY
   MEDIA ULC, a Canadian corporation; and RESTRAINING ORDER AND ORDER TO
18 PEOPLE    MEDIA,  INC.,   a Delaware   SHOW CAUSE WHY A PRELIMINARY
   corporation,                           INJUNCTION SHOULD NOT ISSUE
19
                 Plaintiffs,
20
   v.
21
   GOOGLE LLC; GOOGLE IRELAND
22 LIMITED; GOOGLE COMMERCE LIMITED;
   GOOGLE ASIA PACIFIC PTE. LIMITED; and
23 GOOGLE PAYMENT CORP.

24               Defendants.

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                                       Case No. 5:22-cv-02746
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 1 [PROPOSED] TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE

 2         On May ___, 2022, this Court heard Plaintiffs’ motion for a Temporary Restraining Order

 3 and an Order to Show Cause why a preliminary injunction should not be issued. After considering

 4 the arguments and papers submitted, the Court enters the following Temporary Restraining Order:

 5         ORDERED that Google LLC and its codefendants, together with their agents, employees,

 6 attorneys, and all persons in active concert or participation with them and with knowledge of this

 7 order, are restrained and enjoined from:

 8         1.      Removing, de-listing, refusing to list or otherwise making unavailable any of the apps

 9 owned or operated by Plaintiffs, including rejecting or refusing to distribute any update of such app,

10 from Google Play on the basis that the app permits users to make payments for in-app purchases

11 without using Google Play Billing or on any pretextual basis; and

12         2.      Requiring that any app owned or operated by Plaintiffs offer Google Play Billing as

13 the exclusive means of processing in-app purchases or otherwise requiring Plaintiffs’ apps to change

14 or eliminate the payment options offered to users.

15         This order and all supporting pleadings and opposing papers must be served upon the adverse

16 party within ___ days.

17         This Temporary Restraining Order shall expire on ___________ unless extended by further

18 order of the Court.

19         Defendants are further ordered to show cause on ___________, 2022, at ___ before this Court

20 why a preliminary injunction to the same effect should not issue.

21

22         IT IS SO ORDERED.

23

24 Dated: ___________, 2022
                                                       Judge, United States District Court
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                                              Case No. 5:22-cv-02746
